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                                                                                                 Master Service List as of December 21, 2020


                  Description                                    Name                                            Address                               Phone         Fax                        Email
Notice of Appearance and Request for Notices Abernathy, Roeder, Boyd & Hullett, PC             Attn: Paul M. Lopez                      214‐544‐4000           214‐544‐4040   plopez@abernathy‐law.com
Counsel for Collin County Tax                                                                  Attn: Larry R. Boyd                                                            lboyd@abernathy‐law.com
Assessor/Collector                                                                             Attn: Emily M. Hahn                                                            ehahn@abernathy‐law.com
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Notice of Appearance and Request for Notices Adams and Reese LLP                               Attn: Scott R. Cheatham                  504‐581‐3234           504‐566‐0210   scott.cheatham@arlaw.com
Counsel for Westland Shopping Centert, L.P.                                                    701 Poydras St, Ste 4500
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Notice of Appearance and Request for Notices Aldine Independent School District                Attn: Pamela Walters                     281‐985‐6319           281‐985‐6321   bnkatty@aldineisd.org
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District                                                                                       Houston, TX 77073

Notice of Appearance and Request for Notices     Ballard Spahr LLP                             Attn: Dustin Branch                      424‐204‐4400           424‐204‐4350   branchd@ballardspahr.com
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Gemini Rosemont Commercial Real Estate                                                         2029 Century Park E, Ste 800
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Lienholders                                        Bmo Harris Bank, NA                         111 W Monroe St
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Notice of Appearance and Request for Notices       Branscomb PLLC                              Attn: Patrick H. Autry                   210‐598‐5400           210‐598‐5405   pautry@branscomblaw.com
Counsel to H‐E‐B, LP, HEBCO Development, Inc.                                                  8023 Vantage Dr, Ste 560
and H.E. Butt Store Property Company No. One                                                   San Antonio, TX 78230


Notice of Appearance and Request for Notices       Buchalter, a Professional Corporation       Attn: Shawn M. Christianson              415‐227‐0900           415‐227‐0770   schristianson@buchalter.com
Counsel to Oracle America, Inc.                                                                55 2nd St, 17th Fl
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Notice of Appearance and Request for Notices       Chamberlain Hrdlicka                        Attn: Jarrod B. Martin                   713‐356‐1280           713‐658‐2553   jarrod.martin@chamberlainlaw.com
Counsel for RR Northchase, LLC                                                                 1200 Smith Street, Suite 1400
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Notice of Appearance and Request for Notices       Chamberlain Hrdlicka                        Attn: Tyler W. Greenwood                 713‐658‐2515           713‐658‐2553   tyler.greenwood@chamberlainlaw.com
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for RR Northchase, LLC                                                                         Houston, Texas 77002

Notice of Appearance and Request for Notices       Chamberlain, Hrdlicka, White, Williams &    Attn: Jarrod B. Martin                   713‐356‐1280           713‐658‐2553   jarrod.martin@chamberlainlaw.com
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Notice of Appearance and Request for Notices       Cokinos Young                               Attn: Craig E. Power                     713‐535‐5500           713‐535‐5533   cpower@cokinoslaw.com
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Notice of Appearance and Request for Notices       Counsel to New Mountain – Proskauer         Attn: David Hillman                                                            dhillman@proskauer.com
Counsel to New Mountain Finance Corporation                                                    Attn: Lucy Kweskin                                                             lkweskin@proskauer.com
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Notice of Appointment of Official Committee of     FortyFour LLC                               Attn: Betsy Skelton                      404‐579‐3709                          betsy.skelton@fortyfour.com
Unsecured Creditors                                                                            44 Russel St NE
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Notice of Appearance and Request for Notices       Haley & Olson, PC                           Attn: Shad Robinson                      254‐776‐3336           254‐776‐6823   srobinson@haleyolson.com
Counsel for BDC Properties, Inc. and Bobby Cox                                                 100 N Ritchie Rd, Ste 200
Companies, Inc.                                                                                Waco, TX 76712

Notice of Appointment of Official Committee of     Henry Schein, Inc.                          Attn: Tom Walsh                          631‐327‐6384                          Tom.Walsh@henryschein.com
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Notice of Appearance and Request for Notices       Hoover Slovacek LLP                         Attn: Melissa Haselden                   713‐977‐8686           713‐977‐5395   haselden@hooverslovacek.com
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Notice of Appearance and Request for Notices       Jones Walker LLP                            Attn: Joseph E. Bain                     713‐437‐1800                          jbain@joneswalker.com
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                                                                                               Houston, TX 77002
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Counsel to New Mountain and BMO                                                                Los Angeles, CA 90067
Notice of Appearance and Request for Notices       Kessler & Collins                           Attn: Howard Rubin                       214‐379‐0722           214‐373‐4714   hrubin@kesslercollins.com
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Notice of Appearance and Request for Notices       Law Offices of T.H. Kelley, P.C.            Attn: Teri H. Kelley                     832‐485‐3515           832‐485‐3517   tk@thkelleylaw.com
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Notice of Appearance and Request for Notices       Lewis Roca Rothgerber Christie LLP          Attn: Robert M. Charles                  520‐629‐4427                          RCharles@lrrc.com
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Notice of Appearance and Request for Notices       Linebarger Goggan Blair & Sampson, LLP      Attn: Don Stecker                        713‐844‐3400           210‐225‐6410   sanantonio.bankruptcy@publicans.com
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Notice of Appearance and Request for Notices       Linebarger Goggan Blair & Sampson, LLP      Attn: Elizabeth Weller                   214‐880‐0089           469‐221‐5003   dallas.bankruptcy@publicans.com
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County, and Gregg County                                                                       Ste 1000
                                                                                               Dallas, TX 75207




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Notice of Appearance and Request for Notices       Linebarger Goggan Blair & Sampson, LLP          Attn: Diane W. Sanders                    512‐447‐6675           512‐443‐5114   austin.bankruptcy@publicans.com
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Notice of Appearance and Request for Notices       Locke Lord LLP                                  Attn: W. Steven Bryant                    512‐305‐4726           512‐305‐4800   sbryant@lockelord.com
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Creditors                                                                                          Austin, TX 78701

Notice of Appearance and Request for Notices       Locke Lord LLP                                  Attn: Philip G. Eisenberg                 713‐226‐1200           713‐223‐3717   peisenberg@lockelord.com
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Notice of Appearance and Request for Notices       Locke Lord LLP                                  Attn: Aaron C. Smith                      312‐443‐0700           312‐443‐0336   asmith@lockelord.com
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County, The County of Brazos, Texas, Harrison
Central Appraisal District, The County of Harrison,
Texas, City of Waco and/or Waco Independent
School District, Midland Central Appraisal District
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Notice of Appearance and Request for Notices       Moritt Hock & Hamroff LLP                       Attn: Leslie A. Berkoff                   516‐873‐2000           516‐873‐2010   lberkoff@moritthock.com
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Notice of Appearance and Request for Notices       Munsch Hardt Kopf & Harr, P.C.                  Attn: Deborah M. Perry                    214‐855‐7500           214‐978‐5335   dperry@munsch.com
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U.S. Trustee                                     Office of the United States Trustee              Attn: Hector Duran, Jr                     713‐718‐4650           713‐718‐4670   hector.duran.jr@usdoj.gov
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Notice of Appearance and Request for Notices     Parker, Hudson, Rainer & Dobbs, LLP              Attn: Bryan E. Bates                       404‐420‐4333                          bbates@phrd.com
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Counsel for Richardson ISD                                                                         500 E Border St, Ste 640
                                                                                                   Arlington, TX 76010




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                   Description                                                Name                                    Address                                  Phone         Fax                        Email
Notice of Appearance and Request for Notices          Porter Hedges LLP                             Attn: Joshua W. Wolfshohl                   713‐226‐6000           713‐226‐6248   jwolfshohl@porterhedges.com
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Notice of Appearance and Request for Notices          Potter County Tax Office                      c/o Perdue, Brandon, Fielder, Collins and   806‐359‐3188           806‐359‐5126   amabkr@pbfcm.com
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Notice of Appearance and Request for Notices          Proskauer Rose LLP                            Attn: David Hillman                         212‐969‐3000                          dhillman@proskauer.com;
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Notice of Appearance and Request for Notices          Sagal, Filbert, Quasney & Betten, P.A.        Attn: Kimberly Manuelides                   410‐823‐1881           410‐823‐1881   kmanuelides@sagallaw.com
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Core ‐ Internal Revenue Service                       The Internal Revenue Service                  2970 Market St
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Southern District of Texas                            Southern District of Texas                    Attn: Ryan K Patrick
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